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                                                                                         Daniel Szalkiewicz <daniel@lawdss.com>



        v. Sebrow, USDC, DNJ
1 message

Abraham Borenstein <avib@bmclawyers.net>                                                      Fri, Dec 24, 2021 at 9:34 AM
To: Ira W Heller <iwhelleresq@gmail.com>
Cc: Abraham Borenstein <avib@bmclawyers.net>, Abraham Borenstein <borenlaw3@gmail.com>, Judith Polinchock
<judy@bmclawyers.net>, Brad Arlen <Brad@bmclawyers.net>, Daniel Szalkiewicz <daniel@lawdss.com>,



 Ira,



 As a courtesy I am providing you with the following information.



 Attached is a Complaint and Jury Trial filed against Betty Baila Sebrow in the United States District Court, District of New Jersey,
 filed December 23, 2021.



 Please advise if you will accept service of the complaint on behalf of Ms. Sebrow.



 If you do not advise me you will accept service on her behalf by Monday, December 27, 2021, at 12PM, I will forward the
 Complaint to the US Marshall’s Service or to other Process servers for service.



 Sincerely,



 Avi Borenstein, Esq.




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        (John Doe) v Sebrow USDC, DNC Complaint and Jury Demand 12-23-21.pdf
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